Case 1:96-cr-10060-.]DT Document 531 Filed 06/07/05 Page 1 of 3 Page|D 82

 

   

 

EASTERN DIVISION
Fi'©tif:fjt s. d
CL , _
UNITED srATES oF AMERICA, W- D. oF T`N` JAc ~C¢.
mainqu
vs. Cr. No. 96-10060 T
ANGELA BALLARD,
Defendant.
MoTIoN ro WrrHDRAw

 

  
     
  
   
  
  
  
  

COMES Mary C. Jermann, Attorney of record for de dant, Angela Ballard, with this, her

motion for an order permitting counsel to withdraw, an ould state and show the following to this
Court:
1. At one time, Counsel represented th efendant on post conviction matters

2. Counsel was forced to with alter joining the Federal Defenders Office in the Western

3 d belief the Court s records continue to show Mary C Jermann as
50 5’¢ 21
see s
0?<33 3
4 In an undance of caution, Counsel moves this Court for an order p§f§itung h'a' to
§ 'u
W` draw from further representation of the Defendant. 3
"'O '.'9

WHEREFORE, PREMISES CONSIDERED, counsel for the defendant r =_é@illyn;pve§

MOTIO GRANTE(_D

s Court for an order permitting her to withdraw.

   

 

Th\s document entered on the docket sheet tn eomp\lance

With Rule 55 andlol 32(b) FFiCrF On

   

Ja es D. Todd

U.S. District Judge LD?)\

Case 1:96-cr-10060-.]DT Document 531 Filed 06/07/05 Page 2 of 3 Page|D 83

Respectiillly submitted,

    
 
 

` %)\_)\ )C)L/_’\
MARY

Assistant F era Defender

200 Jefferson venue, Suite 200
Memphis, TN 38103

(901) 544-3895

CERTIFICATE OF SERVIQE

This is to certify that a copy of the foregoing Motion has been forwarded to Ms. Jennifer

Webber, 167 N. Main, Suite 800, Mernphis, TN 38103, do day ofMay, 2005.

CV<\O~//

'MARYC`A“ JE

 

l ---°A
._

0 TNNESSEE

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 531 in
case 1:96-CR-10060 Was distributed by faX, mail, or direct printing on
June 8, 2005 to the parties listed.

 

.1 ennifer Lawrence Webber
U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Paul M. O'Brien

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Richard Leigh Grinalds

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson, TN 38301

Mechelle L. Story

LINDA TAYLOR & ASSOCIATES
206 E. Main St.

Jackson, TN 38301

Danny R. Ellis

MUELLER & ELLIS, PLC
1289 N. Highland Ave.
P.O. Box 3512

Jackson, TN 38303--351

Marcus 1\/1. Reaves
REAVES LAW OFFICE
70 Neeley Station Rd.
Denmark, TN 38391

Honorable .1 ames Todd
US DISTRICT COURT

